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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

   UNITED STATES OF AMERICA,
     Plaintiff,

       v.                                             Criminal No. ELH-17-232

   CLAUDIS LASSISTER,
     Defendant

                                          ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, it is this 6th day of

July, 2020, by the United States District Court for the District of Maryland, ORDERED:

       The Motion (ECF 468) is DENIED, without prejudice.



                                                                        /s/
                                                         Ellen Lipton Hollander
                                                         United States District Judge
